Case 3:16-cv-00647-VAB Document 151-6 Filed 07/01/19 Page 1 of 3




  EXHIBIT E
6/23/2019                                        Mail - shikha.garg@ylsclinics.org
                       Case 3:16-cv-00647-VAB Document     151-6 Filed 07/01/19 Page 2 of 3
The Few, The Proud, The Forgotten v. VA

  Shikha Garg
  Mon 10/15/2018 1:03 PM


  To: Larson,   John (USACT) <John.Larson@usdoj.gov>;

  Cc:Michael Wishnie <michael.wishnie@ylsclinics.org>; Renee Burbank <renee.burbank@YLSClinics.org>; Corey Meyer
     <corey.meyer@ylsclinics.org>;


     1 attachments (94 KB)

035909-035910 Exemption 5 Redaction.pdf;



John,

We have a few things we want to raise as we near the end of the produc on. First, we have a conﬂict with the
January 11, 2019 in-person status conference and would like to schedule for some point in the week that follows.
We would like to reach out to the Court to schedule a new date. If you are okay with rescheduling, are there any
days in the week of January 14 that would or would not work for you and the folks from VA?

Second, we no ce that in the status reports, the metrics are o en shi ing between number of documents, page
numbers, and the categories assessed. Would it be possible to use a consistent set of metrics for the forthcoming
status reports?

Third, we are no cing issues pertaining to exemp ons and want to begin discussions on these issues sooner
rather than later. As brought up during the mo on for summary judgment, we are concerned with the VA's use of
Exemp on 6 to redact the names of SMEs from the documents they've produced. Last August we ﬂagged for you
a General Counsel FOIA decision le er that reversed a FOIA oﬃcer’s decision to withhold the names of “all
dermatologists and dermatology specialists” working in the Tuscon VA hospital because of the "countervailing
public interest in knowing that VA employs qualiﬁed individuals." (The le er can be found
here: h ps://bloximages.chicago2.vip.townnews.com/tucson.com/content/tncms/assets/v3/editorial/5/55/5553
4e63-ed64-5ﬀe-a5e7-4a812e3411af/599792bf241c1.pdf.pdf.) Were you able to bring this le er to the a en on
of the agency and discuss its rela on to this FOIA request?

We also no ce issues with the VA's use of Exemp on 5. We understand that the VA will be providing Vaughn
indices on January 11 which might contain more informa on on these redac ons, but as of now, the VA's prac ce
of broadly categorizing the documents withheld in the agency decision le ers is not suﬃcient to evaluate
whether the VA has properly applied this exemp on. Some of the redac ons also raise concerns. For example,
pages 035909-035910 (a ached here) are fully redacted pursuant to Exemp on 5 and the agency le er lists these
pages and several others as dra opinions and dra Q&As. However, the tle at the top of the page, which is not
redacted, refers to this document as "ﬁnal." Please review with the agency to ensure that Exemp on 5 is being
applied properly and to ensure that the agency is providing suﬃcient explana on for its redac ons.

Addi onally, in the Vaughn indices, will the agency be specifying the Bates number of the ﬁnal documents that
correlate to withheld dra s?

As always, we are happy to chat on the phone if you'd prefer.

https://outlook.office.com/owa/?realm=yale.edu&path=/mail/inbox                                                    1/2
6/23/2019                                       Mail - shikha.garg@ylsclinics.org
                      Case 3:16-cv-00647-VAB Document     151-6 Filed 07/01/19 Page 3 of 3
Best,
Shikha

Shikha Garg
Law Student Intern
Veterans Legal Services Clinic
Jerome N. Frank Legal Services Organiza on




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